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Page ID #:1

Attorney for Plaintiffs, Suzann Victoria Marino,

on beha. f
and Nathan Anthony Marino

f of the estate of Anthony Dean Marino

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

SUZANN VICTORIA MARINO,
individually and on behalf of the
estate of ANTHONY DEAN
MARINO; NATHAN ANTHONY
MARINO, individually,

Plaintiffs,

vs.

VICTOR VALLEY COLLEGE
DISTRICT FOUNDATION, INC,;
COUNTY OF SAN BERNARDINO;
and DOES 1-10, inclusive.

Defendants.

 

Case No.:
COMPLAINT FOR DAMAGES:

1. Unreasonable Search and Seizure-
Detention and arrest (42 U.S.C. §
1983) (against defendant Victor
Valley College District
Foundation Inc., and DOES 1-6)

2. Unreasonable Search and Seizure-
Excessive Force (42 U.S.C. § 1983)
(against defendant Victor Valley
College District Foundation Inc.,
and DOES 1-6)

3. Municipal Liability for
Unconstitutional, Custom,
Practice, or Policy (42 U.S.C. §
1983) (against defendant Victor
Valley College District
Foundation Inc., and DOES 1-6)

4. Battery (against defendant Victor
Valley College District
Foundation Inc., and DOES 1-6)

5. Negligence (against all defendants)

COMPLAINT FOR DAMAGES

 
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6. Negligent training Against
defendant Victor Valley College
District Foundation Inc., and
DOES 1-6

7. Deliberate Indifference to a
‘Substantial Risk of Harm to
Health (42 U.S.C. § 1983, 8"&14"
Am. of U.S. Constitution, and Ca.
Gov. Code §845.6) Against all
defendants

DEMAND FOR JURY TRIAL

 

 

 

COMPLAINT
Comes now, Plaintiffs, Suzann Victoria Marino, wife of Anthony Dean
Marino, and Nathan Anthony Marino, son of Anthony Dean Marino, for their
complaint against defendants Victor Valley College District Foundation Inc.,
County of San Bernardino, and DOES 1-10, and alleges as follows:
INTRODUCTION

1. This civil rights action seeks compensatory and punitive damages from
defendants for violating various rights under the United States Constitution and
state law in connection with the February 15, 2015 encounter between defendants
Victor Valley College District Foundation Inc., County of San Bernardino, DOES
1-10 and Anthony Dean Marino.

2. This case challenges the unjustified seizure, the application of an
excessive amount of force, and the ensuing wrongful death of Anthony Dean
Marino, hereinafter referred to as "DECEDENT", by Victor Valley College
District Foundation Inc., County of San Bernardino, and DOES 1-10. Anthony

COMPLAINT FOR DAMAGES
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Dean Marino was unarmed when, without warning, defendants stopped him, then
proceeded to shoot him with a Taser gun resulting in the discharge of a lethal
dose of electricity for a prolonged period of time. Defendants had no probable
cause to believe that Anthony Dean Marino had threatened or in the process of
threatening anyone’s life with any force whatsoever.

3. The use of force against Anthony Dean Marino, which ultimately killed
him, was unconstitutional and violated clearly established law that would have
been known to any reasonable law enforcement officer.

PARTIES

4. At all relevant times, Suzann Victoria Marino, (““SUZANN”) was a
resident of the County of San Bernardino, California.

5. SUZANN at all relevant times was the wife of the decedent Anthony
Dean Marino.

6. At all relevant times, Nathan Anthony Marino, (“NATHAN”) was a
resident of the County of San Bernardino, California.

7. NATHAN, at all relevant times, was the adult son of the decedent
Anthony Dean Marino.

8. At all relevant times, defendant County of San Bernardino
("COUNTY") is and was a duly organized public entity, form unknown, existing
under the laws of the State of California.

9. At all relevant times, COUNTY was the employer of DOES 1 - 6
("DOE OFFICERS"), who were Victor Valley College District Foundation Inc.
("COLLEGE") officers, and DOES 7 - 10 ("DOE SUPERVISORS"), who were
managerial, supervisorial, and policymaking employees of COLLEGE.

10. At all relevant times, defendants DOE OFFICERS and DOE
SUPERVISORS were duly authorized employees and agents of the COLLEGE
and the COUNTY, who were acting under color of law within the course and

scope of their respective duties as officers and with the complete authority and

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ratification of their principal, defendant COLLEGE. Defendants DOE OFFICERS
are sued in their individual capacities only.

11. At all times relevant, defendants DOE OFFICERS (DOES 1 - 6) and
DOE SUPERVISORS (DOES 7 - 10) were duly appointed officers and/or
employees or agents of COLLEGE, subject to oversight and supervision by
COLLEGE's elected and non-elected officials.

12. At all times mentioned herein, each and every defendant was the agent
of each and every other defendant and had the legal duty to oversee and supervise
the hiring, conduct and employment of each and every defendant herein.

13. The true names of defendants DOE OFFICERS and DOE
SUPERVISORS, are unknown to Plaintiffs, who therefore sues these defendants
by such fictitious names. Plaintiffs will seek leave to amend this complaint to
show the true names and capacities of these defendants when they have been
ascertained. Each of the fictitious named defendants is responsible in some
manner for the conduct and liabilities alleged herein.

14. In doing the acts and failing and omitting to act as hereinafter
described, defendants DOE OFFICERS, and DOE SUPERVISORS were acting
on the implied and actual permission and consent of COLLEGE.

JURISDICTION AND VENUE

15. This civil action is brought for the redress of alleged deprivations of
constitutional rights as protected by 42 U.S.C. §§ 1983, 1985, 1986, 1988, and the
Fourth and Fourteenth Amendments of the United States Constitution.
Jurisdiction is founded on 28 U.S.C. §§ 1331, 1343, and 1367.

16. | Venue is proper in this Court under 28 U.S.C. § 1391(b) because
defendants reside in, and all incidents, events, and occurrences giving rise to this
action occurred in County of San Bernardino, within the Central District of

California.
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FACTS COMMON TO ALL CLAIMS FOR RELIEF

17. Plaintiffs repeat and re-allege each and every allegation in paragraphs 1
through 16 of this Complaint with the same force and effect as if fully set forth
herein.

18. On or about February 15, 2015, at the location of 18422 Bear Valley
Road, Victorville, California, DOE OFFICERS, wrongfully and unlawfully
assaulted, beat and arrested/detained DECEDENT, or otherwise caused him harm.
During the said arrest/detention DOE OFFICERS caused the DECEDENT to be
seriously injured and ultimately killed him, by using excessive physical brute force
on him and employing an excessive use of Taser on DECEDENT. The use of
force, including the use of the Taser, was done in an unreasonable and excessive
manner for an unreasonable period of time.

19. At the time of the incident, DECEDENT constituted no threat to
defendants which would give rise to an excessive use of Taser and for an
unreasonable period of time. Although there was no legal cause, justification, or
excuse for defendants to utilize the level of force on DECEDENT, causing severe
injury and ultimate cardiac arrest, said defendants did so without any justification.
Consequently, DECEDENT suffered, great pain, anguish and suffering until the
moment of his death, DECEDENT died at a hospital from a cardiac arrest after the
encounter with the DOE OFFICERS.

20. DECEDENT was tased for a significantly longer period than the
standard "5 second discharge". DOE OFFICERS were deliberately indifferent
when they applied the taser directly over DECEDENT's heart in violation of their
department's police procedure and against the taser manufacturer's recommended
proper usage. Based upon the findings in the medical reports, DECEDENT
suffered significant head injury which could have only resulted from the severe
blows sustained to his head. DOE OFFICERS were deliberately indifferent to
DECEDENT's health and safety when they recklessly failed to consider a more

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effective detention tool and avoid causing serious injury and ultimate death with
their prolonged Taser use. They were reckless and oblivious to the ineffectiveness
of the Taser, and therefore, the continued and excessive use of the taser
constituted nothing short of the malicious infliction of physical punishment and
torture upon the DECEDENT.

21. Upon the arrival of paramedics, DECEDENT's physical health had
deteriorated to the point that he was dangerously non-responsive. Given the
DECEDENT's critical condition, the paramedics had determined that the
DECEDENT had been unresponsive for some time prior to their arrival;
additionally, they made the following medical findings: DECEDENT had gone
into cardio-respiratory arrest and oxygen had to be provided through a mechanical
ventilator.

22. While at the ER of Desert Valley Hospital, DECEDENT was diagnosed
with the following: cardio-respiratory arrest, anoxic brain injury with anoxic
encephalopathy with herniation and subarachnoid and subdural hemorrhage,
pneumonia with streptococcus pneumonia, questionable sepsis, questionable
systemic inflammatory response syndrome, questionable acute tubular necrosis,
questionable acute respiratory failure, questionable acute myocardial infarction,
his white blood count was elevated, he was showing evidence of acute renal
failure, evidence of rhabdomyolysis and showed mild diffuse volume loss.

23. As a result of the Taser application and the infliction of trauma,
DECEDENT had obvious visible physical injuries, including labored breathing,
and being non-responsive to physical, verbal or any other sensory stimuli . Despite
these obvious injuries, County of San Bernardino DOE OFFICERS failed to
render any emergency aid on their own, and delayed to summon immediate
medical aid in deliberate indifference to DECEDENT's need for medical care.

24. As a direct result of defendants' wrongful detention and arrest,

excessive force, and cover-up, SUZANN suffers the loss of her husband's familial

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relations including the severe pain and suffering, mental anguish, grief,
humiliation, psychological trauma and emotional distress.

25. As a direct result of defendants' wrongful detention and arrest,
excessive force, and cover-up, NATHAN suffers the loss of his father's familial
relations including the severe pain and suffering, mental anguish, grief,
humiliation, psychological trauma and emotional distress.

FIRST CLAIM FOR RELIEF
UNREASONABLE SEARCH AND SEIZURE-DETENTION AND ARREST
(42 U.S.C. § 1983)
(Against Defendants DOE Officers)
26. Plaintiffs repeat and re-allege each and every allegation in paragraphs 1

through 25 of this Complaint with the same force and effect as if fully set forth
herein.

27. The Fourth Amendment of the United States Constitution guarantees all
persons the right to be free from unreasonable detention in violation of their right
to privacy. 42 U.S.C. § 1983 provides a private right of action for conduct which
violates this right.

28. On February 15, 2015, DOE OFFICERS made contact with
DECEDENT. When defendants first encountered DECEDENT, DECEDENT did
not pose a threat to any of the officers, nor did the defendants see DECEDENT in
possession of any illegal objects, contraband, or weapons.

29. The conduct of DOE OFFICERS violated DECEDENTS's right to be
free from unreasonable search and seizure, which is guaranteed to them by the
Fourth Amendment to the Unites States Constitution and applied to state actors by
their Fourteenth Amendment.

30. The conduct of DOE OFFICERS in unreasonably seizing DECEDENT
up to and including the tasing was malicious, oppressive and committed in
reckless disregard for the rights and safety of DECEDENT and warrants the
imposition of exemplary and punitive damages as to these DOE OFFICERS.

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31. Defendants were integral participants and failed to intervene with
respect to DOE OFFICERS' unreasonable seizure of DECEDENT despite the
opportunity to do so.

32. As a direct result of the unreasonable detention of DECEDENT,
Plaintiffs have suffered the loss of love, care, comfort, society, companionship,
assistance, protection, affection, moral support, support of DECEDENT.

33. As a direct result of the unreasonable detention of DECEDENT, he
experienced severe pain and suffering and the loss of life for which he, by

Plaintiffs, is entitled to recover damages.

SECOND CLAIM FOR RELIEF
UNREASONABLE SEARCH AND SEIZURE-EXCESSIVE FORCE
(42 U.S.C. § 1983)
(Against Defendants DOE Officers)

34. Plaintiffs repeat and re-allege each and every allegation in paragraphs
1 through 33 of this Complaint with the same force and effect as if fully set forth
herein.

35. The unjustified detention of DECEDENT by DOE OFFICERS and,

the subsequent unjustified use of excessive force deprived DECEDENT of his
right to be secure in his person against unreasonable searches and seizures as
guaranteed to him under the Fourth Amendment to the United States Constitution
and applied to state actors by the Fourteenth Amendment.

36. The actions of DOE OFFICERS deprived DECEDENT of his right
to be free from state actions that shock the conscience under the Fourteenth
Amendment's Due Process Clause.

37. As a result of the conduct of DOE OFFICERS, they are liable for
Plaintiff, for the DECEDENT's injuries and death, either because they were
integral participants in the excessive force or because they failed to intervene to

prevent these violations.

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38. The conduct of DOE OFFICERS was willful, wanton, malicious and
done with an evil motive and intent and a reckless disregard for the rights and
safety of DECEDENT and therefore warrants the imposition of exemplary and
punitive damages as to DOE OFFICERS.

39, Accordingly, DOE OFFICERS each are liable to Plaintiffs for
compensatory and punitive damages under 42 U.S.C. § 1983.
THIRD CLAIM FOR RELIEF

MUNICIPAL LIABILITY FOR UNCONSTITUTIONAL CUSTOM,
PRACTICE OR POLICY (42 U.S.C. § 1983)
(Against Defendants College, County and DOE Supervisors)

40. Plaintiffs hereby repeat, re-state, and incorporates each and every
allegation in paragraphs 1 through 39 of this Complaint with the same force and
effect as if fully set forth herein.

41. On and for some time prior to February 15, 2015 (and continuing to
the present date) defendants COLLEGE, COUNTY and DOE SUPERVISORS,
deprived Plaintiffs of the rights and liberties secured to them by the Fourth and
Fourteenth Amendments to the United States Constitution, in that said defendants
and their supervising and managerial employees, agents, and representatives,
acting with gross negligence and with reckless and deliberate indifference to the
rights and liberties of the public in general, of Plaintiffs, and of persons in their
class, situation and comparable position in particular, knowingly maintained,
enforced and applied an official recognized COLLEGE and COUNTY custom,
policy, and practice of:

(a) Employing and retaining as officers and other personnel, including
DOE OFFICERS, who defendants COLLEGE and DOE SUPERVISORS at all
times material herein knew or reasonably should have known had dangerous
propensities for abusing their authority and for mistreating citizens by failing to

follow written COLLEGE policies and for using excessive force;

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(b) Of inadequately supervising, training, controlling, assigning, and
disciplining COLLEGE officers , and other COLLEGE personnel, including DOE
OFFICERS, who defendants COLLEGE and DOE SUPERVISORS each knew or
in the exercise of reasonable care should have known had the aforementioned
propensities and character traits;

(c) By maintaining grossly inadequate procedures for reporting,
supervising, investigating, reviewing, disciplining and controlling the intentional
misconduct by DOE OFFICERS, who are COLLEGE officers;

(d) By having and maintaining an unconstitutional custom and practice
of using excessive force, and covering up police misconduct. These customs and
practices by COUNTY and DOE SUPERVISORS were condoned by said
defendants in deliberate indifference to the safety and rights of its civilian,
including Plaintiffs and DECEDENT.

42. By reason of the aforementioned policies and practices of defendants
COLLEGE, COUNTY and DOE SUPERVISORS, SUZANN and NATHAN
experienced severe pain and suffering and the loss of their husband and father
respectively, for which they, are entitled to recover damages.

43. Defendants COLLEGE, COUNTY and DOE SUPERVISORS,
together with various other officials, whether named or unnamed, had either actual
or constructive knowledge of the deficient policies, practices and customs alleged
in the paragraphs above. Despite having knowledge as stated above these
defendants condoned, tolerated and through actions and inactions thereby ratified
such policies. Said defendants also acted with deliberate indifference to the
foreseeable effects and consequences of these policies with respect to the
constitutional rights of Plaintiffs, and other individuals similarly situated.

44. By perpetrating, sanctioning, tolerating and ratifying the outrageous
conduct and other wrongful acts, defendants COLLEGE, COUNTY and DOE
SUPERVISORS acted with an intentional, reckless, and callous disregard for the

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well-being of DECEDENT and his constitutional as well as human rights.
defendants COLLEGE, COUNTY and DOE SUPERVISORS and each of their
actions were willful, wanton, oppressive, malicious, fraudulent, and extremely
offensive and unconscionable to any person of normal sensibilities.

45. Furthermore, the policies, practices, and customs implemented and
maintained and still tolerated by defendants COLLEGE, COUNTY and DOE
SUPERVISORS were affirmatively linked to and were a significantly influential
force behind the Plaintiff's injuries.

46. Accordingly, defendants COLLEGE, COUNTY and DOE
SUPERVISORS each are liable to Plaintiff's for compensatory damages under 42
U.S.C. § 1983.

FOURTH CLAIM OF RELIEF
STATE CLAIM - BATTERY
(Against Defendants DOES - 10, inclusive)

47. Plaintiffs hereby repeat, re-state, and incorporate each and every
allegation in paragraphs 1 through 46 of this Complaint with the same force and
effect as if fully set forth herein.

48. Defendants DOE OFFICERS used physical force including but not
limited to an excessive application and duration of the Tasing and handcuffing
DECEDENT without legal justification or excuse, knowing full well that
DECEDENT was unarmed and that he posed no threat to the officers or anyone
else.

49. Defendants intentionally, willfully and recklessly committed a
battery on the person of DECEDENT, deliberately intending to cause severe
injury to the person of DECEDENT by needlessly employing the use of a Taser
strictly as a measure of punishment.

50. Defendants intentionally, willfully and recklessly committed a
battery on the person of plaintiffs DECEDENT, deliberately intending to cause

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severe injury to the person of DECEDENT by needlessly Tasing, and inflicting
such a physical trauma upon his body to the point of death.

51. As a proximate cause of the unlawful battery by defendants,
DECEDENT was severely injured to the point of sustaining a fatal cardiac arrest,
thereby causing plaintiff to sustain the losses and damages as alleged in this
complaint.

52. The intentional and reckless acts of defendants in committing a
battery upon DECEDENT were willful, malicious, oppressive, and in conscious
disregard of DECEDENT'S rights, thereby justifying an award of punitive or
exemplary damages against defendants and in favor of plaintiffs.

FIFTH CLAIM OF RELIEF
STATE CLAIM - NEGLIGENCE
(Against All Defendants)

53. Plaintiffs repeat and re-allege each and every allegation contained in
Paragraphs 1 through 52 of this Complaint, and by this reference incorporates the
same herein and makes each a part hereof as though fully set forth.

54. By virtue of the foregoing, defendants owed DECEDENT a duty of
due care, and that duty was breached by defendants’ negligence and failure to
exercise due care in dealing with, using physical force including but not limited to
the excessive and unreasonable use of a taser against him and brute force and
trauma to the head, which proximately caused the DECEDENT's death on
February 15, 2015.

55. As a direct and proximate cause of the aforementioned acts of
defendants, plaintiff was injured as set forth above and is entitled to compensatory
damages according to proof at the time of trial.

SIXTH CLAIM OF RELIEF
NEGLIGENT HIRING, TRAINING AND RETENTION
(Against Defendant College, County, and DOES 1 - 10, inclusive)

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56. Plaintiffs repeat and re-allege each and every allegation contained in
Paragraphs 1 through 55 of this Complaint, and by this reference incorporates the
same herein and makes each a part hereof as though fully set forth.

57. Defendants COLLEGE, COUNTY and DOE SUPERVISORS
possessed the power and authority to hire and fire employees of the COLLEGE
and based upon information and belief and negligently hired defendant DOE
OFFICERS as officers, entrusted them with the following duties: protect citizens,
conduct reasonable investigations based upon reasonable beliefs that persons have
been harmed, or property has been stolen or destroyed, and cause persons who
commit crimes on property to be arrested.

58. By virtue of the foregoing, defendants owed Plaintiffs a duty of due
care, and that duty was breached by defendants’ negligent and careless manner in
hiring, training, supervising and retaining by, among other things:

a) Failing to adequately train its officers in the use of force,
specifically as it relates to the effective use and deployment of the
taser, as well as constitutional limitations in the same use of force;

b) Failing to adequately train its officers in identifying a person
that presents a threat of force or violence, as opposed to one that does
not;

c) Failing to adequately investigate background, training and
experience as officers and their propensity to use excessive force
when detaining a person;

d) ‘Failing to provide adequate supervisory control over the
actions of its deputies in regard to adequate training, supervision,
equipment, planning, oversight, and administration;

e) Failing to control the conduct of its officers who have a known

propensity for violence and in failing to discipline its deputies;

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f) Failing to investigate in good faith, allegations of excessive
and unreasonable use of force by its officers;

g) Failing to discipline its officers who use excessive and
unreasonable force; and;

h) Sanctioning, condoning and approving a law enforcement-
wide custom and practice of a code of silence, cover-up and
dishonesty.

59. As a direct and proximate cause of the aforementioned acts of
defendants, plaintiff's DECEDENT was injured as set forth above and are entitled
to compensatory damages according to proof at the time of trial.

60. By reason of the aforementioned policies and practices of defendants
and DOES 1 - 10, plaintiffs were injured as set forth above and is entitled to
compensatory damages according to proof at the time of trial.

SEVENTH CLAIM FOR RELIEF
Deliberate Indifference to a Substantial Risk of Harm
to Health and Safety (42 U.S.C. § 1983, 8'"&14" Amendment of the U.S.
Constitution, and California Government Code §845.6)
(Against all Defendants)
61. Plaintiffs repeat and re-allege each and every allegation in paragraphs

1 through 60 of this Complaint with the same force and effect as if fully set forth
herein.

62. From the time decedent was confronted at COLLEGE until the time
of death, the defendants denied DECEDENT proper medical care in violation of
his 8" and 14™ Amendment constitutional rights.

63. All defendants were aware that DECEDENT had an urgent medical
need and required medical treatment.

64. All of the defendants knew there was a substantial risk to
DECEDENT's health if he went untreated, but repeatedly refused to treat him.

65. As of the result of the delay of proper medical care, DECEDENT

spent his time in unnecessary and excruciating pain, suffering in agony.

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66. The denial of medical treatment exacerbated DECEDENT's condition
to the point where his life was placed in jeopardy.

67. The defendants, by ignoring DECEDENT in this situation and by
failing to provide proper medical attention, acted with deliberate indifference to a
serious health condition and the medical needs of DECEDENT.

68. If the decedent is deemed to be a convicted inmate, the defendants by
their act of deliberate indifference in failing to provide medical care to treat the
decedent’s serious medical condition, the conduct thereof constitutes cruel and
unusual punishment in violation of the Eighth Amendment of the Constitution.

69. If the decedent is deemed to be a pretrial detainee, the defendants by
their act of deliberate indifference in failing to provide medical care to treat the
DECEDENT's serious medical condition, the conduct thereof constitutes cruel and
unusual punishment in violation of the Due Process Clause of the Fourteenth
Amendment of the Constitution.

70. All defendants were deliberately indifferent to the serious medical
needs of DECEDENT. It should be adequately clear that a reasonable officer
would comprehend that by denying medical care, DECEDENT was exposed to
undue suffering or threat of tangible residual injury, which, in the end, proved to
be fatal. The defendants officers including DOES 1 thru 10, intentionally denied
DECEDENT proper medical care by failing to treat, refer to a doctor, or transfer
DECEDENT for proper care, causing him to unduly suffer before having cardiac
arrest.

71. Had the defendants and their employees, agents, and servants, not
acted with deliberate indifference to the obvious and serious health needs of
DECEDENT and provided proper medical attention, he would not have died.

72. DECEDENT?’s death was easily avoidable.

73. Such acts and omissions of the defendants violated DECEDENT’s
constitutional rights guaranteed under the Eighth and Fourteenth Amendments to

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the United States Constitution. The defendants knew that by failing to treat the
DECEDENT from the effects of a Taser, additional serious injury would occur.
74. Additionally, defendants failed to perform their mandatory duty
under California Government Code § 845.6 to provide medical care to decedent
even though defendants had actual or constructive knowledge that the decedent
was in need of medical care for decedent’s serious medical condition comprising
of cardiac arrest and Plaintiffs Suzann Victoria Marino and Nathan Anthony
Marino are authorized to maintain this cause of action.
DD: Accordingly, defendants each are liable to Plaintiffs for
compensatory and punitive damages under 42 U.S.C. § 1983.
PRAYER FOR RELIEF
WHEREFORE, Plaintiffs request entry of judgment in their favor and
against defendants COLLEGE, COUNTY, and DOES 1-10, inclusive, as follows:
For compensatory damages and interest, in an amount no less than
$10,000,000;
b. For punitive damages against individual defendants in an amount to be
proven at trial;
c. For funeral and burial expenses to be determined according to proof at
trial;

d. For reasonable costs of this suit and attorneys’ fees pursuant 42 U.S.C. §

 

1988; and
d. For such further relief as the Court may deem just, proper, and
appropriate.
DATE: July 28, 2015 THE SEHAT LAW FIRM, PLC
By: !
Came Sehat,

Attorney for Plaintiffs

COMPLAINT FOR DAMAGES
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DEMAND FOR JURY TRIAL
Plaintiffs hereby demand a jury trial.
DATE: July 28, 2015 THE SEHAT LAW FIRM, PLC

By:

Cameron\Sehat,
Attorney\for Plaintiffs

 

COMPLAINT FOR DAMAGES
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PROOF OF SERVICE BY MAIL

STATE OF CALIFORNIA )
COUNTY OF ORANGE )

I am employed in the County of ORANGE, State of California, I am over the
age of eighteen years and not a party to the within-entitled action: my business
address is: 18881 Von Karman Ave., Ste. 850, Irvine, California 92612

On July 29, 2015, I served the foregoing document described as:

COMPLAINT FOR DAMAGES

To all interested parties in this action as follows:

 

Victor Valley College Dist.- County of San Bernardino

Foundation, Inc. Att: Risk Management

18422 Bear Valley Road 222 W. Hospitality In., 3rd FI.

Victorville, CA 92395 San Bernardino, CA 92415
X BY MAIL

I deposited such envelope in the mail at Irvine, California. The envelope
was mailed with postage thereon fully prepaid.

X_ I caused such envelope to be deposited in the mail at Irvine, California. The
envelope was mailed with postage thereon fully prepaid.

Tam Secor familiar with the firm’s practice of collection and processing
correspondence for mailing. It is deposited with the U.S. Postal Service on
that same day in the ordinary course of business. I am aware that on motion
of party served, service is presumed invalid if postal cancellation date or _
postage meter date is more than | day after the date of deposit for mailing in
affidavit.

BY PERSONAL SERVICE
I delivered such envelope by hand to the offices of the addressee.
X_ STATE

I declare under penalty of perjury under the laws of the State of California
that the above is true and correct.

Executed on July 29, "fo ey California.
Pedram Rejaei Ae.
/ G 1
PROOF OF SERVICE

 
